TO:    All Court of Appeals Judges, Professor Bacigal, Professor Swisher and John Tucker

FROM: Marty Ring

DATE: April 1, 2014


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Sandra D. T. Griffin
              v. David L. Griffin, Deceased, c/o Kimberly Cowser-Griffin, etc.
              Record No. 1177-13-1
              Opinion rendered by Judge Humphreys on
              January 28, 2014

          2. Marvin T. Rideout, III
              v. Commonwealth of Virginia
              Record No. 0513-13-2
              Opinion rendered by Judge Beales on
              February 4, 2014

          3. Raymond Charles Case
              v. Commonwealth of Virginia
              Record No. 2188-12-4
              Opinion rendered by Judge Alston on
              February 11, 2014
